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UNITED STATES BANKRUPTCY COURT
M]DDLE DISTRICT OF FLORIDA
TAMPA DIVISION
In Re:
Case No. 8:18-bk-02237-MGW
NATALIE ANN GR|FF|N-WALLACE
a/k/a NATAL|E ANN GR|FF|N Chapter 13

Debtor. /
MRUPLAN_
A. NOTICES.
Debtorl must check one box on each line to state whether or not the Plan includes each of the

following items. If an item is checked as “Not Included”, if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

 

 

 

A limit on the amount of a secured claim based on a Valuation which lneluded Not lncluded
may result in a partial payment or no payment at all to the secured E/
creditor. See Sections C.S(d) and (e). A separate motion will be filed D 4 /
Avoidance of a judicial lien on nonpossessory, nonpurchase money l:l p/
security interest under l l U.S.C., §522(£). A separate Motion Will be

filed See Section C.S(e). /

Nonstandard provisions, set out in Section E \z/ l:1

 

 

 

 

 

B. MONTHLY PLAN PAYMENTS. Pian payments include the Trustee’s fee of l 0%
and Shail begin 30 days from petition filing/conversion date. Debtor shall make
payments to the Trustee for the period of 60 months. If the 'i`rustee does not retain
the full 10%, any portion not retained will be disbursed to allowed claims receiving
payments under the Plan and may cause an increased distribution to the unsecured
class of creditors

$1,199.00.00 from month l through 60

c. PRoPosED olsTRlBUTIoNs.

 

lAll references to “Debtor” include and refer to both of the debtors in a case filed jointly
by two individuals

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1. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $4,600.00 Total Paid Prepetition $90.00 Balance Due $4,510.00
MMM Fee $ 0.00 Total Paid Prepetition $ 0.00 Balance Due $ 0.00
Estimated Monitoring Fee at $0.00 per month.

Attorney Fees Payable Through Plan at $100.00 Monthly (subject to adjustment).

2. DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 

Acct. No.

Creditor

Total Claim Amount

 

 

 

 

 

 

 

3. PRIORITY CLAIMS las defined in 11 U.S.C., §50:2|.

 

Last Four Digits of Acct No.

Creditor

Total Claim Amount

 

 

 

 

 

 

 

4. TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
received a fee, the percentage of Which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate protection
paymentsl The Trustee shall disburse adequate protection payments to secured creditors prior to
confirmation, as soon as practicable, if the Plan provides for payment to the secured creditor, the
Secured creditor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor under §501(0), and no objection to the claim is pending. IfDebtor’s payments under
the Plan are timely paid, payments to the secured creditors under the Plan shall be deemed

contractually paid on time.

(a) Claims Secured by Debtor’s Principal Residence Which Debtor Intends to

Retain ~ Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid
Through the Plan. If the Plan provides for curing prepetition arrears on a mortgage on
Debtor’s principal residence, Debtor Will pay, in addition to all other sums due under the

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proposed Plan, all regular monthly postpetition mortgage payments to the Trustee as part of
the Plan. These mortgage payments, which may be adjusted up or down as provided for
under the loan documents, are due beginning the first due date after the case is filed and
continuing each month thereafter The Trustee shall pay the postpetition mortgage payments
for the Debtor’s principal residence on the following mortgage claims:

 

 

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment

Acct. No. Payment

3726 MTGLQ 12537 Glen Oak $553.00 $0.00 $26,043.74

 

 

 

 

 

 

 

 

 

(b) Claims Secured by Other Real Property Which Debtor Intends to Retain -
Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
Through the Plan. If the Plan provides to cure prepetition arrearages on a mortgage, Debtor
will pay, in addition to all other sums due under the proposed Plan, ali regular monthly
postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
payments, which may be adjusted up or down as provided for under the loan documents, are
due beginning the first due date after the case is filed and continuing each month thereafter.
The Trustee shall pay the postpetition mortgage payment on the following mortgage claims:

 

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Payment

 

 

 

 

 

 

 

 

 

 

(c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage
Modification. If Debtor obtains a modification of the moltgage, the modified payments
shall be paid through the Plan. Pending the resolution of a mortgage modification request,
Debtor shall make the following adequate protection payments to the Trustee: (l) for
homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
spouse, if any (after deducting homeowners association fees), or the normal monthly
contractual mortgage payment; or (2) for non-homestead, income-producing property, 75%
of the gross rental income generated from the property.

 

 

Last Four Digits of Creditor Collateral Address Adequate
Acct. No. Protection Payment

 

 

 

 

 

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(d) Claims Secured by Real Property or Personal Property to Which Section 506
Valuation APPLIES (Strip Down). Under 1 l U.S.C., §1322(b)(2), this provision does not
apply to a claim secured solely by Debtor’s principal residence. A separate motion to
determine secured status or to value the collateral must be filed. The secured portion of
the claim, estimated below, shall be paid. Unless otherwise stated in Section E, the payment
through the Plan does not include payments for escrowed property taxes or insurance

 

Last Four Creditor Collateral Claim Value Payment Interest
Digits of Description Amount Through Rate
Acct. No. /Address Plan

 

 

 

 

 

 

 

 

 

 

 

(e) Liens to be Avoided Under 11 U.S.C., §522 or Stripped Off Under 11 U.S.C,.
§506. Debtor must file a separate motion under §522 to avoid a judicial lien or a
nonpossessory, nonpurchase money security interest because it impairs an exemption or
under §506 to determine secured status and to strip a lien.

 

Last Four Digits of Acct No.

Creditor Collateral Description l

Address

 

 

 

 

 

 

 

(i) Claims Secured by Real Property and/ or Personal Property to Which Section 506
Valuation DOES NOT APPLY Under the Final paragraph in 11 U.S.C., §1325(a). The
claims listed below were either: (1) incurred within 910 days before the petition date and
secured by a purchase money security interest in a motor vehicle acquired for the personal
use of Debtor; or (2) incurred within one year of the petition date and secured by a purchase
money security interest in any other thing of value. These claims will be paid in full under
the Plan with interest at the rate stated below.

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Last Four
Digits of
Acct. No.

Creditor

Collateral
Description/
Address

Claim
Amount

Payment
Through
Plan

Interest
Rate

 

 

 

 

 

 

 

 

 

(g) Claims Secured by Real or Personal Property to be Paid with Interest Through
The Plan under 11 U.S.C., §1325(b)(2). The following secured claims Will be paid in full

under the Plan with interest at the rate set stated below.

 

Last Four
Digits of
Acct. No.

Creditor

Collateral
Description/
Address

Claim
Amount

Payment
Through
Plan

Interest
Rate

 

 

 

 

 

 

 

 

 

(h) Claims Secured by Personal Property - Maintaining Regular Payments and Curing

Arrearage, if any, with All Payments in Plan.

 

Last Four
Digits of Acct.
No.

Creditor

Collateral
Description

Regular
Coutractual
Payment

Arrearage

 

 

 

 

 

 

 

 

(i) Secured Claim Paid Directly by Debtor. The following secured claims are being made
via automatic debit/draft from Debtor’s depository account and are to continue to be paid
directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The
automatic stay is terminated in rem as to Debtor and in rem and in personam as to any
codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is

intended to terminate or abrogate Debtor’s state law contract rights.

 

 

Last Four Digits of Acct.

No.

 

Creditor

 

Property/Collateral

 

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(j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
following collateral/property The automatic stay under ll U.S.C., §362(a) and §1301(a) is
terminated in rem as to Debtor and in rem and in personam as to any codethr as to the
creditors upon the filing of this Plan.

 

Last Four Digits of Acct. Creditor Collateral/Property
No. Description/Address

 

 

 

 

 

 

 

(k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to
make payments to the following secured creditors. The automatic stay is terminated in rem
as to Debtor and in rem and in personam as to any codebtor with respect to these creditors
upon the filing of this Plan. Debtor’s state law contract rights and defenses are neither
terminated nor abrogated

 

Last Four Digits of Acct. Creditor l Collateral
No. Description/Address

 

 

 

 

 

 

 

6. LEASES/EXECUTORY CONTRACTS. As and for adequate protection, the Trustee
shall disburse payments to creditors under leases or executory contracts prior to confirmation, as
soon as practical, if the Plan provides for payment to creditor/lessor, the creditor/lessor has filed a
proof of claim or Debtor or Trustee has filed a proof of claim for the secured creditor/lessor under
§501(0), and no objection to the claim is pending lfDebtor’s payments under the Plan are timely
paid, payments to creditors/lessors under the Plan shall be deemed contractually paid on time.

(a) Assumption of Leasestxecutory Contracts for Real or Personal Property to be Paid

and Arrearages Cured Through the Plan. Debtor assumes the following leases/executory
contracts and proposes the prompt cure of any prepetition arrearage as follows:

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Last Four CreditorfLessor Description of Regular Arrearage and
Digits of Acct. Leased Contractual Proposed Cure
No. Property Payment

 

 

 

 

 

 

 

 

 

(b) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
Directly by Debtor. Debtor assumes the following lease/ executory contracts claims that are
paid via automatic debit/draft from Debtor’s depository account and are to continue to be
paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft
The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any
codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is
intended to terminate or abrogate Debtor’s state law contract rights.

 

Last Four Digits of` Acct.
No.

Creditor/Lessor Property/Collateral

 

 

 

 

 

 

 

(c) Rejection of Leasestxecutory Contracts and Surrender of Real or Personal Leased
Property. Debtor rejects the following leases/executory contracts and will surrender the
following leased real or personal property. The automatic stay is terminated in rem as to
Debtor and in rem and in personam as to any codebtor as to these creditors and lessors upon
the filing of this Plan.

 

Last Four Digits of Acct.
No.

CreditorfLessor Property/Collateral to be

Surrendered

 

 

 

 

 

 

 

7. GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed

claims shall receive a pro rata share of the balance of any funds remaining after payments to the
above referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan.
The estimated dividend to unsecured creditors shall be no less than $1,000.00.

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D. GENERAL PLAN PROVISIONS:

l.

Secured creditors, whether or not dealt with under the Plan, shall retain the liens
securing such claims.

Payments made to any creditor shall be based upon the amount set forth in the
creditor’s proof of` claim or other amount as allowed by an Order of the Bankruptcy
Court.

IfDebtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property
of the estate shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise Property of the estate

(a) X shall not vest in Debtor until the earlier of Debtor’s
discharge or dismissal of this case, unless the Court orders otherwise;
or

(b) shall vest in Debtor upon confirmation of the Plan.

The amounts listed for claims in this Plan are based upon Debtor’s best estimate and
belief and/or the proofs of claim as filed and allowed Unless otherwise ordered by
the Court, the Trustee shall_only pay creditors with filed and allowed proofs of claim.
An allowed proof of claim will control, unless the Court orders otherwise

Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
distributions The actual distributions may vary. If the summary or spreadsheet
conflicts with this Plan, the provisions of the Plan control prior to confirmation, after
Which time the Order Confirming Plan shall control.

Debtor shall timely file all tax returns and make tax payments and deposits when due.
(However, if Debtor is not required to file tax returns, Debtor shall provide the
Trustee with a statement to that effect.) For each tax return that becomes due after
the case is filed, Debtor shall provide a complete copy of the tax retum, including
business returns if Debtor owns a business, together With all related W-2s and Form
10995, to the Trustee within 14 days of filing the return. Unless otherwise ordered,
consented to by the Trustee, or ordered by the Court, Debtor shall turn over to the
Trustee all tax refunds in addition to regular Plan payments Debtor shall not instruct
the Internal Revenue Service or other taxing agency to apply a refund to the
following year’s tax liability. Debtor shall not spend any tax refund without first
having obtained the Trustee’s consent or Court approval.

E. NONSTANDARD PROVI§IQNS as Defined in Federal Rule of Bankruntcv Procedure
30151c1. Note: Any nonstandard provisions of this Plan other than those set out in this

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section are deemed void and are stricken

Additional funding will be that portion of any proceeds derived from potential cause of
action against former legal counsel as listed in Schedule B filed herein determined by this

Court to be subject to turnover to the Chapter 13 Trustee herein fgr distribution to the holders

of allowed unsecured claims
CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, is not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

SIGNATURE S 2

C/» ? »/s’

Date

 

Date

 

_L"/@

 

 

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CERTIFICATE OF SERVICE
IHEREBY CERTIFY that a true and correct copy of the foregoing Chapter 13 Plan has been

furnished by US Mail to all parties on the attached official matrix who are not registered CM/ECF

faa rca

LAW OFFICE OF RONALD R. BIDWELL P.A.
Ronald R. Bidwell, Esquire

1205 W. Fletcher Avenue, Suite B

Tampa, FL 33612

(813)908-7700 Facsimile (813)962-6156

Florida Bar #298867

ATTORNEY FOR DEBTOR.

users this f day of April, 2018.

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Sat Apr 7 11:18:22 ID'1'2018
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Aseociation

3900 Hisccnsin Avenue N.H.
Washinqton, DC 20016-2$92

ll'l'GLQ Inve£tor§ LP
15 s ltain Street
Greenville, BC 29601-2'143

Robertson Anschut: 8 Sclmeid
6409 Conqress Avenue #100
Bo¢a Raton, FL 33487-2853

Surf Consultants loc

successor to Bank of marion
Steven B sprechnan Director
2775 Bunny Isles Blvd 11100
Horth ltiani Beacb, FL 33160-40'18

Kelly Renick +

Chapter 13 Standing Trustee
Post effice ch 6099

sun city, n 33571-6099

llatalie Ann Griffi_n-Wallace
1253'1 Glen Oak Avenue
lieu Port Richey, Fll 34554'3072

Internal Revenue Service
P.o. Box 7346
Philadelphla, PA 19101-7346

ll'lGLQ Investors LP
6011 Connection Drive
vai.nq, 'l'X 75039-260'1

Seterus Inc.
14523 811 Hilliksn llay #200
Beaverton, 011 97005-2352

United States Trustee - 'I'PA'HlS 7+
'l'inherleke man Buite 1200

501 l Polk Street

'l'allma. FL 33602-3949

Note: mtries with a '+' at the end of the
sane have an mail address on file in C|ECF

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Department of Revenue
PO Box 5668
'l'a.lla,hassee, l"L 32314-6668

La\r offices of hence Denha P
1560 Sawgrass Corporate Pln¢y
Buite 456

tort Lauderdale. FL 33323-28'15

Hortqage llectroni`c Regis-
traticn Systens. Inc.

P 0 Box 2026

l'lint,l l|I 48501-2026

shellpoint llortqage
Bervicinq

P 0 ch 10826

Greenville, BC 29603-0826

Ronald R. Bidwell +

La\r Office of Ronald R Bid\rell Pli
1205 ll Fletcher live Suite B
Tallpa, FL 33612-3324

'l'he following recipients may be/have bear bypassed for notice due to an mdelivenble (u) or duplicate td) cddress.

(u)llichael G. williamson
'Pm

End of label llatrix

llailable recipients 16
Bypassed recipients 1
'l'otal 17

